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                   (b) the administrator, in any capacity in which it was named as a defendant in the
                   Trust Adversary Proceeding with respect to each such Securitization Trust
                   accepting this Plan and the Securitization Trust Settlement, (c) the owner trustee
                   of each such Securitization Trust accepting this Plan and the Securitization Trust
                   Settlement, (d) U.S. Banlc, National Association, in any capacity in which it was
                   named as a defendant in the Trust Adversary Proceeding with respect to each such
                   Securitization Trust accepting this Plan and the Securitization Trust Settlement,
                   and (e) the indenture trustee under any indenture pursuant to which such
                   Securitization Trust issued notes and accepted this Plan and Securitization Trust
                   Settlement with respect to each such Securitization Trust accepting this Plan and
                   the Securitization Trust Settlement, each of the foregoing administrators, owner
                   trustees and indenture trustees, in their respective capacities, and not individually.

                           (vi)   Release of Claims against the Debtor and The Estate. On the
                   Effective Date, the Claims against the Debtor and the Estate of the Securitization
                   Trusts, the Indenture Trustees under the Indenture for such Securitization Trusts
                   and the administrators for such Securitization Trust (in such capacity) receiving
                   the treatment provided by the Securitization Trust Settlement, subject to and upon
                   implementation of the Securitization Trusts Settlement, will be deemed satisfied
                   and no further recovery shall be permitted in respect of such Claims.

                           (vii) Rejection of Executory Contracts. On the Effective Date, all
                   Guaranty Agreements executed in favor of the Securitization Trusts and the
                   related Deposit and Security Agreements and other related documents entered into
                   by the Debtor prior to the Commencement Date will be deemed rejected, and with
                   respect to Claims asserted by Securitization Trusts accepting the Plan or that are
                   deemed to accept the Plan, thereby receiving the treatment provided by the
                   Securitization Trust Settlement, all Debtor's claims or rights to set off any
                   Guaranty fees, basis point fees and other interests in loans held by such
                   Securitization Trusts will be deemed waived.

                           (viii) Estate's Retention of Rights With Respect to Residuals.
                   Nothing herein shall be deemed a waiver or release of the rights, if any, that the
                   Debtor or any other party may have to receive a portion (if any) of the Residual
                   with respect to any and all of the Securitization Trusts.

                           (ix)   Special Provisions Regarding Classes 3m and 3n.
                   Notwithstanding anything to the contrary herein, the terms of the "Stipulation
                   Regarding the Modification of the Fourth Amended Plan of Reorganization With
                   Respect to Claims of Class 3m and 3n" shall control and supersede any and all
                   inconsistent provisions of this Plan.

                   (d) KeyBank National Association and KeyCorp Trusts Settlement

                          (i)     Pursuant to section 1123(b)(3)(A) of the Bankruptcy Code and
                   Banlcruptcy Rule 9019, the acceptance of this Plan by KeyBanlc National
                   Association (excluding in its capacity as a Make and Wait Lender) and acceptance
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       08-12540 Doc    07/08/20
                     1139-1        Entered
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  Case           Filed
       08-12540 Doc    07/08/20
                     1139-1        Entered
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  Case           Filed
       08-12540 Doc    07/08/20
                     1139-1        Entered
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                     1139-1        Entered
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       08-12540 Doc    07/08/20
                     1139-1        Entered
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       08-12540 Doc    07/08/20
                     1139-1        Entered
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  Case           Filed
       08-12540 Doc    07/08/20
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       08-12540 Doc    07/08/20
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       08-12540 Doc    07/08/20
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       08-12540 Doc    07/08/20
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  Case           Filed
       08-12540 Doc    07/08/20
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  Case           Filed
       08-12540 Doc    07/08/20
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  Case           Filed
       08-12540 Doc    07/08/20
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  Case           Filed
       08-12540 Doc    07/08/20
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  Case           Filed
       08-12540 Doc    07/08/20
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  Case           Filed
       08-12540 Doc    07/08/20
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       08-12540 Doc    07/08/20
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       08-12540 Doc    07/08/20
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  Case           Filed
       08-12540 Doc    07/08/20
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  Case           Filed
       08-12540 Doc    07/08/20
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